                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:07CR246-W


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
RAUL MUNOZ,                                            )
                                                       )
                         Defendant.                    )
__________________________________________________)



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice”

(document #43) of defense counsel Marcia G. Shein. For the reasons set forth therein, the Motion

will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Frank D. Whitney.

       SO ORDERED.

                                                       Signed: January 10, 2008




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